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                          UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF WASHINGTON

 UNITED STATES OF AMERICA
                                                        Case No. CR17-229JLR

                                                        ORDER ON MOTION FOR
 v.                                                     SENTENCE REDUCTION UNDER
                                                        18 U.S.C. § 3582(c)(1)(A)

                                                        (COMPASSIONATE RELEASE)
 AGUSTIN DELGADO-IBARRA

       Upon motion of the defendant for a reduction in sentence under 18 U.S.C. §

3582(c)(1)(A), and after considering the applicable factors provided in 18 U.S.C. § 3553(a) and

the applicable policy statements issued by the Sentencing Commission,

IT IS ORDERED that the motion is DENIED after complete review of the motion on the merits.

       In deciding this motion the court considered the following factors: Defendant’s age (49);

Defendant’s immigration and detainer status; the COVID-19 history and current status at

Defendant’s current BOP facility; Defendant’s medical history, susceptibility to COVID-19, and

current mental and physical conditions including alleged lung disease, body mass index, and

pneumonia 11 years ago; the length of Defendant’s sentence and amount of time served;

Defendant’s arguments regarding an increase in the harshness of custody time due to COVID-19;

Defendant’s risk to the welfare of the community; and the factors found in 18 U.S.C. § 3553(a).

IT IS SO ORDERED.

Dated: January 11, 2021


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                                                            A
                                                            JAMES L. ROBART
                                                            United States District Judge
